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                                                             U.s.
                                                                        j    , .

                IN THE UNITED STATES DISTRICT COURT
                                                             2JI6T23 A1 3:L7
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                        -.

                          STATESBORO DIVISION
                                                               SO. DISÔYGA


THE UNITED STATES OF AMERICA,

               Plaintiff,

                V.                           6:16CR05-07

KENNETH BERNARD GILLIS,

               Defendant.



                               ORDER



     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.


                               0-~
     SO ORDERED, this            day of September, 2016.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
